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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) DANIEL ROYTMAN, an individual, )
                                     )
                   Plaintiff,        )
                                     )
  v.                                 )                     No. 15-CV-101-CVE-TLW
                                     )
  (1) CSAA GENERAL INSURANCE         )
  COMPANY, f/k/a AAA INSURANCE       )
  COMPANY, a foreign for profit      )
  corporation,                       )
                                     )
                   Defendant.        )

              STIPULATION FOR ORDER OF DISMISSAL WITH PREJUDICE

         COMES NOW Daniel Roytman, by and through attorney of record, Donald E. Smolen, II,

  and Gregory D. Nellis, attorney of record for Defendant, and would show the Court that this matter

  has been compromised and settled and, therefore, moves the Court for an Order Of Dismissal With

  Prejudice


                                         /s/ Donald E. Smolen, II
                                       (signed by filing attorney with permission of Plaintiff attorney)
                                       Donald E. Smolen, II
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                                       Tulsa, OK 74119

                                       ATTORNEYS FOR PLAINTIFF

                                       /s/ Gregory D. Nellis
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                                        CERTIFICATE OF SERVICE

          This is to certify that on October 15, 2015, the above and foregoing document was
  transmitted to the Clerk for the United States District Court for the Northern District of Oklahoma
  using the ECF System for filing and transmittal to the following ECF registrants:

  Donald E. Smolen, II
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  Tulsa, OK 74119


                                                  /s/ Gregory D. Nellis

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